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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiffs,                                4:16CR3039
     vs.
                                                               ORDER
RAHMAN M. NABAVI,
                  Defendants.



IT IS ORDERED:

1)   Defendant’s motion to review the conditions of pretrial release, (Filing No. 41), is
     granted.

2)   The court’s order setting conditions of release, (Filing No. 12), is modified as
     follows:

            Paragraphs (d) and (e) are modified to read “Maintain or actively
            seek employment or maintain or commence an educational
            program.”

3)   In addition to modified terms (d) and (e), Defendant shall comply with all other
     terms of the court’s order setting conditions of pretrial release.

     November 1, 2016.

                                               BY THE COURT:
                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
